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7                                UNITED STATES DISTRICT COURT
8
                                WESTERN DISTRICT OF WASHINGTON

9
     LESLIE SHON WEATHERS, individually
10   and on behalf of all others similarly situated,     No.

11                                  Plaintiff,           CLASS ACTION COMPLAINT

12                                                       JURY TRIAL DEMANDED
            v.
13
     TORI BELLE COSMETICS, LLC, a
14   Washington limited liability company; and
     DOES 1-10,
15
                                    Defendants.
16

17

18          Plaintiff Leslie Shon Weathers (“Plaintiff”), individually and on behalf all others similarly

19   situated, by and through her attorneys, brings this Class Action Complaint against Defendant Tori

20   Belle Cosmetics, LLC (“Defendant” or “Tori Belle”), and alleges, upon personal knowledge as

21   to her own actions, her counsel’s investigations, and facts that are a matter of public record, and

22   upon information and belief as to all other matters, as follows:

23                   I.      INTRODUCTION AND NATURE OF THE ACTION

24          1.      This is a class action against Tori Belle on behalf of its current and former

25   independent contractors (hereinafter, “Affiliates”) for breach of contract. Tori Belle requires its

26   Affiliates to sign an identical form contract as a condition of hire. This contract requires Tori

27   Belle to stop charging an Affiliate if he or she earns less than $300 in retail sales within a

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1    consecutive six-month period. It also requires Tori Belle to stop charging an Affiliate if he or she
2    does not pay the required monthly access fee of $9 for three consecutive months. Tori Belle
3    routinely charged its Affiliates fees in violation of these contractual provisions. In fact, Plaintiff
4    never received a single payment from the company, never sold any products, and was never an
5    active salesperson, yet Tori Belle nonetheless charged her for twenty-six monthly $9 payments.
6                                             II.     PARTIES
7           2.      Plaintiff Leslie Shon Weathers is a resident of Johnson County, Texas.
8           3.      Defendant Tori Belle Cosmetics, LLC is a Washington limited liability company
9    with its principal place of business in King County, Washington.
10                                 III.   JURISDICTION AND VENUE
11          4.      This Court has subject matter jurisdiction over this action under 28 U.S.C. §
12   1332(d) because this is a class action wherein the amount in controversy exceeds the sum or value
13   of $5,000,000, exclusive of interest and costs, there are more than 100 members in the proposed
14   class, and at least one member of the class is a citizen of a state different from the Defendant.
15          5.      This Court has personal jurisdiction over Defendant because Defendant’s principal
16   place of business is located in the State of Washington.
17          6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial
18   part of the events or omissions giving rise to these claims occurred in, were directed to, and/or
19   emanated from this District. Defendant resides within this judicial district and a substantial part
20   of the events giving rise to the claims alleged herein occurred within this judicial district.
21                                  IV.    FACTUAL ALLEGATIONS
22          7.      Tori Belle is a multilevel marketing company that employs a pyramid-shaped sales
23   structure to sell cosmetic products worldwide through independent contractors.
24          8.      Plaintiff and Class Members worked for Tori Belle as independent contractors,
25   also known as “Affiliates.”
26

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1            9.        Affiliates agree to work for Tori Belle to sell cosmetic products and to recruit other
2    Affiliates to sell products.
3            10.       Affiliates earn portions of the proceeds from their own sales, but an Affiliate’s
4    largest earnings are made from the sales of their recruits. An Affiliate’s recruits are referred to as
5    a “downline.” Affiliates receive a portion of the product sales from each individual in their
6    downline, and the rest of the proceeds from these sales are sent up the pyramid. Each Affiliate
7    who is higher up the pyramid keeps a percentage of each sale, and a portion of each sale is reserved
8    for Tori Belle, which sits at the apex of the pyramid.
9            11.       Tori Belle also generates extensive revenue by charging its Affiliates significant
10   fees and costs.
11           12.       Of particular note is the Tori Belle “website fee” or “access fee” of $9 per month,
12   which it charges each Affiliate each month.
13           13.       Tori Belle requires each Affiliate to maintain an active credit card on file, and
14   prevents Affiliates from deleting the credit card information without inputting a new, active credit
15   card.
16           14.       Tori Belle then quietly charges each Affiliate’s credit card the $9 website fee each
17   month, regardless of whether the Affiliate is active in the company, and often without the Affiliate
18   even being aware of it. There is no notice of the charge, no email, SMS, or alert, or any indication
19   whatsoever that the charge has occurred. Tori Belle provides no central portal, login, or
20   application that would permit an Affiliate to research the amount of charges made to his or her
21   credit card. The only way method an Affiliate would be aware of this ongoing charge would be
22   to check his or her credit card statement.
23           15.       Tori Belle’s Policies and Procedures agreement, also known as its “Affiliate
24   Agreement” (revised December 17, 2019) (the “Agreement”) provides for termination of the
25   Agreement if an Affiliate fails to pay their access fees for three consecutive months. Page 5 of the
26   Agreement states:
27                     Term and Renewal

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1                   The term of the Affiliate Agreement is month-to-month and is
                    automatically renewed upon the payment of the monthly access fee.
2
                    The monthly access fee pays for the Affiliate’s general & product
3                   liability insurance as well as access to their back office and
                    replicated Website. Should an Affiliate fail to pay their monthly
4                   access fee, the Affiliate’s business will be put on suspension and
                    they will not be eligible for commissions or bonuses for that month
5                   until all past-due access fees are paid. If the Affiliate fails to pay
                    their access fee for three (3) consecutive months, the Affiliate
6
                    Agreement will be terminated.
7           16.     This term is stated again on page 34 of the Agreement: “[I]f if three (3) consecutive
8    months are not paid, the Affiliate will be cancelled and the three (3) consecutive missed payments
9    will be deducted from any owed commissions.”
10          17.     The Agreement also provides for an automatic termination and the cessation of all
11   access fees after a consecutive six-month period with less than $300 of retail sales. Page 33 of the
12   Agreement states:
13                  Section 27. Inactivity and/or Termination of Affiliate
                    …
14
                    Following a Affiliate’s non-renewal of their Affiliate Agreement,
15                  termination for inactivity, (less than $300 of retail sales within a six
                    month period), voluntary or involuntary termination of their
16                  Affiliate Agreement (all of these methods are collectively referred
                    to as “termination”), the former Affiliate shall have no right, title,
17                  claim or interest to the marketing organization which they operated,
                    or any commission or bonus from the personal retail sales generated
18
                    by the organization.
19                  An Affiliate whose business is terminated will lose all rights as an
                    Affiliate.
20
            18.     The Agreement was the single instrument that provided Tori Belle the right to
21
     charge Affiliates. Upon its termination, Tori Belle was required by its terms to cease charging
22
     Affiliates upon termination of the Agreement.
23
            19.     The Agreement is a Washington contract drafted by Tori Belle.
24
            20.     The Agreement constitutes an adhesion contract.
25
            21.     Tori Belle did not cease charging Affiliates monthly fees after their Agreements
26
     were terminated due to inactivity or periods of nonpayment. Instead, Tori Belle continued
27
     charging former Affiliates monthly fees, sometimes for years after their Agreements were
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1    terminated. Tori Belle was so aggressive in its overcharging, that some Affiliates had to cancel
2    their credit cards to avoid being charged because their complaints to Tori Belle were ignored.
3    Further, Tori Belle made a business decision not to reverse erroneous charges even when
4    Affiliates complained, opting instead to just keep the money.
5           Plaintiff Leslie Shon Weathers’ Experience
6           22.     Plaintiff is a former Affiliate whose active involvement with the company was
7    minimal.
8           23.     In January 2020, Plaintiff joined Tori Belle as an Affiliate and placed an order for
9    approximately $18 of products.
10          24.     Plaintiff signed the Agreement, but never became active in Tori Belle: she never
11   sold any product, nor recruited any other salespeople as part of her downline.
12          25.     She was aware only of the first $9 charge, which gave her access to the Tori Belle
13   website. She was unaware that Tori Belle continued to quietly charge her credit card each month.
14          26.     For 25 months after the month in which she signed up to be an Affiliate, Tori Belle
15   continued to charge her $9 each month.
16          27.     On August 11, 2022, Plaintiff emailed Tori Belle and asked the company to cancel
17   her account.
18          28.     On August 15, 2022, Tori Belle again charged Plaintiff a $9 fee.
19                                   V.      CLASS ALLEGATIONS
20          29.     Plaintiff brings this nationwide class action pursuant to rules 23(b)(2), 23(b)(3),
21   and 23(c)(4) of the Federal Rules of Civil Procedure, individually and on behalf of all members
22   of the following class (“Class”):
23                  All current and former independent contractors of Tori Belle
                    Cosmetics, LLC residing in the United States who, between August
24
                    16, 2016 and final judgment in this matter, were charged monthly
25                  fees in violation of the Affiliate Agreement.

26          30.     Excluded from the Class are the Defendant’s officers, directors, trustees, legal

27   representatives, heirs, successors, and assigns.

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1            31.     Plaintiff reserves the right to modify or amend the definition of the proposed Class
2    before the Court determines whether certification is appropriate.
3            32.     Numerosity: The Class is so numerous that joinder of all members is
4    impracticable. Class members number at least in the hundreds, and potentially thousands. The
5    exact number of Class members and their addresses can be ascertained from the Defendant’s
6    records through discovery.
7            33.     Commonality: There are questions of law and fact common to the Class. Each
8    Class member has been subject to the same course of conduct by Defendant and has suffered
9    harm as a result of the conduct. These common questions include: (a) Whether Defendant violated
10   its own Agreement; (b) The legality of Defendant’s assessment of fees to individuals who had
11   separated from the company; and (c) Whether Plaintiff and Class members were damaged as a
12   result of Defendant’s practices.
13           34.     Typicality: Plaintiff’s claims are typical of those of the Class members because
14   all were charged recurring monthly fees despite Tori Belle’s contractual obligation to cease
15   charging such fees.
16           35.     Adequacy of Representation: Plaintiff will fairly and adequately represent and
17   protect the interests of Class members. Plaintiff’s Counsel is competent and experienced in
18   litigating class and collective actions.
19           36.     Class certification is appropriate under Rule 23(b)(1)(A) because the prosecution
20   of separate actions by individual Class members would create a risk of inconsistent or varying
21   adjudications with respect to individual Class members, which would establish incompatible
22   standards of conduct for Defendant.
23           37.     Class certification is also appropriate under Rule 23(b)(2) because Defendant has
24   acted or refused to act on grounds generally applicable to the Class, so that final injunctive relief
25   or corresponding declaratory relief is appropriate as to the Class as a whole.
26           38.     Class certification is likewise appropriate under Rule 23(b)(3) because the
27   questions of law and fact common to Class members predominate over any questions affecting

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1    only individual members, including legal and factual issues relating to liability and damages. A
2    class action is superior to other available methods for the fair and efficient adjudication of this
3    controversy. Because the damages suffered by individual members of the Class may be relatively
4    small, the expense and burden of individual litigation make it impossible for the members of the
5    Class individually to redress the wrongs done to them. The Class is readily definable, and
6    prosecution of this action as a class action will eliminate the possibility of repetitious litigation.
7    Plaintiff will encounter no undue difficulty in managing this action as a class action.
8                                      VI.     CAUSE OF ACTION
9                                     FIRST CAUSE OF ACTION
                                          Breach of Contract
10
                                    On Behalf of Plaintiff and the Class
11          39.     Plaintiff re-alleges and incorporates by reference all foregoing factual allegations.
12          40.     Pursuant to the Agreement, Defendant had a contractual obligation to terminate
13   Plaintiff and members of the Class upon nonpayment or inactivity, and to cease charging them
14   monthly fees. Defendant breached the Agreement by continuing to charge monthly fees after
15   termination of the Agreement.
16          41.     Defendant further breached its duty of good faith and fair dealing, which required
17   faithfulness to an agreed common purpose and consistency with the justified expectations of the
18   other party.
19          42.     Plaintiff and members of the Class were damaged by Defendant’s various breaches
20   of contract.
21                                    VII.    PRAYER FOR RELIEF
22          43.     WHEREFORE, Plaintiff, on behalf of herself and the Class members, requests
23   judgment against the Defendant and that the Court grant the following:
24          A.      For an Order certifying the Class as defined herein and appointing Plaintiff and
25   her Counsel to represent the Class;
26          B.      For equitable relief enjoining Defendant from engaging in the wrongful conduct
27   complained of herein pertaining to charging Plaintiff and Class members illegal monthly fees;

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1           C.      Injunctive relief requiring Defendant to refrain from further illegal conduct as
2    outlined above;
3           D.      For an award of damages, including actual, nominal, and consequential damages,
4    as allowed by law in an amount to be determined;
5           E.      For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;
6           F.      For prejudgment interest on all amounts awarded; and
7           G.      Such other and further relief as this Court may deem just and proper.
8                                VIII. DEMAND FOR JURY TRIAL
9           Plaintiff hereby demands that this matter be tried before a jury.
10

11   DATED August 16, 2022.                               EMERY | REDDY, PLLC
12
                                                  By:     /s/ Timothy W. Emery
13
                                                  By:     /s/ Patrick B. Reddy
14                                                        TIMOTHY W. EMERY
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